

Matter of Pizzola (2022 NY Slip Op 02182)





Matter of Pizzola


2022 NY Slip Op 02182


Decided on March 31, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 31, 2022

PM-67-22
[*1]In the Matter of Chelsea Elizabeth Walker Pizzola, an Attorney. (Attorney Registration No. 5552955.)

Calendar Date:March 28, 2022

Before:Garry, P.J., Colangelo, Ceresia, Fisher and McShan, JJ.

Chelsea Elizabeth Walker Pizzola, Washington, DC, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Chelsea Elizabeth Walker Pizzola was admitted to practice by this Court in 2017 and lists a business address in Chicago, Illinois with the Office of Court Administration. Pizzola now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Pizzola's application.
Upon reading Pizzola's affidavit sworn to February 28, 2022 and filed March 7, 2022, and upon reading the March 23, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Pizzola is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Colangelo, Ceresia, Fisher and McShan, JJ., concur.
ORDERED that Chelsea Elizabeth Walker Pizzola's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Chelsea Elizabeth Walker Pizzola's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Chelsea Elizabeth Walker Pizzola is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Pizzola is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Chelsea Elizabeth Walker Pizzola shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








